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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Management Registry, Inc.,                     Case No. 17-cv-5009 (JRT/DTS)

      Plaintiff,
                                               ORDER FOR MEDIATION
v.

A.W. Companies, Inc., et al.,

      Defendants.


      WHEREAS the parties to this case, with the assistance of the Court, have

negotiated a confidential resolution to this action that is expressly contingent upon

achieving a settlement in two related matters—Brown v. MBM Assoc. Inc., et al., Case

No. 2019-L-003361, currently pending in Cook County Circuit Court (the MBM action),

and Brown v. Loftus, et al., Case No. 01-23-0000-4564, currently pending before the

American Arbitration Association (the malpractice action);

      And WHEREAS the parties to the MBM matter and the malpractice arbitration have

agreed to mediate these disputes with the undersigned;

      And WHEREAS the Court finds that the mediation of these matters is necessary

to resolution of this federal action, IT IS HEREBY ORDERED THAT:

      1.      The voluntary mediation in the MBM action will occur August 7 and 8, 2024

at 9:00 a.m. by zoom and in the malpractice action in October on a specific date yet

to be determined at Suite 3000, 70 West Madison Street, Chicago, IL, before the

undersigned United States Magistrate Judge. All participants should plan on spending the

entire day at the mediation.
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       2.     Any and all communications, offers, negotiations or other matters discussed

during the mediation, including specifically but not limited to, any mediator’s proposal and

the parties’ responses thereto, are strictly confidential and may not be publicly disclosed

by either side.

       3.     Counsel for defendants in this action shall provide a copy of this order to

counsel of record in the MBM and malpractice actions, along with the Voluntary

Agreement to Mediate that is attached hereto.

       4.     The parties to the mediation will NOT be responsible for payment of any of

the undersigned’s travel or lodging expenses incurred in conducting this mediation.

       5.     On or before August 1, 2024, each mediating party in the MBM action shall

submit to the Court a confidential mediation statement by emailing to the undersigned at

schultz chambers@mnd.uscourts.gov. The mediation statement should be in the form of

a letter as attached and should address the matters indicated in the attached.

       6.     Counsel for defendants in this matter shall attend the mediation.



Dated: July 22, 2024                             ___s/David T. Schultz_____
                                                 DAVID T. SCHULTZ
                                                 U.S. Magistrate Judge




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                               AGREEMENT TO MEDIATE


       The undersigned agree that Judge David T. Schultz will mediate the cases of
Brown v. MBM Assoc. Inc. and Brown v. Loftus, without costs or fees payable by the
parties.

       The mediator has a BA from Carlton College and a JD from Standford Law School.
He has mediated approximately 200 cases, was a civil trial attorney for 32 years, and is
currently serving as a United States Magistrate Judge, a position held for 7 years.

       The mediator or any party may terminate the mediation upon written notice
delivered by certified mail or personally to the other people who signed this Agreement to
Mediate.

       The parties agree that they will mediate in good faith in an effort to reach a binding
Mediated Settlement Agreement. The parties are advised that (a) the mediator has no
duty to protect their interests or provide them with information about their legal rights;
(b) signing a mediated settlement agreement may adversely affect their legal rights; and
(c) they should consult an attorney before signing a mediated settlement agreement if
they are uncertain of their rights.

       The parties are advised that the mediator will keep his mediation file on this case
for six months if the dispute is resolved, and for one year if the case is not resolved
through mediation. This Agreement to Mediate may be signed in counterparts, which
together shall constitute one binding agreement.



Dated: ________________, 2024

_________________________                         __________________________

_________________________                         __________________________

_________________________                         ___________________________

_________________________                         ___________________________

_________________________                         ___________________________

_________________________                         ___________________________
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                         CONFIDENTIAL SETTLEMENT LETTER


I.     CONCISE AND OBJECTIVE SUMMARY OF THE CASE

       A.    Factual Summary

             In this section please provide an objective summary of the facts, including
             identification of any facts that are unknown or in dispute. In addition, please
             provide any important history or dynamics of the relationship between the
             parties.

       B.    Procedural Posture

       C.    Costs and Fees

             Specify the total costs and fees expended to date or the current lode star
             amount of time spent if you represent your client on a contingency basis, as
             well as the anticipated costs and fees through summary judgment, and
             separately, through trial.

II.    A REASONED ANALYSIS OF LIABILITY AND DAMAGES

       In this section please provide your assessment of the merits of your case, including
       an itemized computation (or refutation) of damages. In addition, please include a
       candid assessment of the weaknesses (e.g., bad key witness) of your case.

       A.    Liability

       B.    Damages

       C.    Candid Discussion of Weaknesses of the Case

III.   SETTLEMENT

       A.    Summary of Settlement Discussions to Date

       B.    Any obstacles to settlement.

             In this section describe any barriers to settlement, including unrealistic client
             expectations or emotional investment in the case.

       C.    Non-Monetary Terms

             In this section describe any non-monetary terms that are important to
             resolving this matter.
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      D.    Insurance

            Include in this section the policy limits, any reservations, and whether the
            defense is within limits or separate therefrom.

IV.   OTHER

      In this section please provide any other information you believe would be useful to
      the Court in resolving this matter.
